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                                   STATEMENT OF FACTS

        Your Affiant, Justin Mosiman, is a Special Agent assigned to the Federal Bureau of
Investigation (“FBI”) Joint Terrorism Task Force in Milwaukee. In my duties as a special agent,
I investigate a variety of federal crimes. Currently, my duties include investigating criminal
activity in and around the United States Capitol grounds on January 6, 2021. As a Special Agent,
I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.

        The United States Capitol is secured 24 hours a day by United States Capitol Police.
Restrictions around the United States Capitol include permanent and temporary security barriers
and posts manned by United States Capitol Police. Only authorized people with appropriate
identification were allowed access inside the United States Capitol. On January 6, 2021, the
exterior plaza of the United States Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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       The following facts pertain to Riley D. KASPER’s violations of federal law on January 6,
2021, including his assault on federal law enforcement officers with what appears to be pepper
spray.

       On January 18, 2021, the FBI received a tip from a confidential human source (“CS-1”),
which included screenshots of a January 7, 2021, Facebook post by Riley D. Kasper of Green Bay,
Wisconsin, containing images of locations appearing to be in Washington, D.C., with the caption,
“Trump rally Washington, D.C.!” One such screenshot is reproduced here:




       Open-source videos show a person wearing a gray-patterned jacket, camouflage facemask
and head covering, and tan camouflage backpack at the Capitol during the riot of January 6, 2021.
One of the videos (https://www.youtube.com/watch?v=wIFpSg-6HIc) (“YouTube Video 1”)
shows that person spraying an aerosol canister of what is believed to be pepper spray toward
federal law enforcement officers (U.S. Capitol Police and Metropolitan Police Department
(“MPD”) officers) that were standing between the Capitol building and the rioters. 1 The next three
images below were captured from YouTube Video 1:




1
  Based on the size and appearance of the aerosol canister, it appears to be a product commonly marketed as one that
is designed to deter a bear attack, commonly known as “bear spray.”
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      The following image is a screenshot after zooming in on YouTube Video 1, and shows the
same person spraying an orange substance consistent with pepper spray:
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        Another      YouTube       video     (https://www.youtube.com/watch?v=rnGXNnHQfms)
(“YouTube Video 2”), also recorded at the Capitol on January 6, 2021, shows a person wearing
the same gray-patterned jacket, camouflage facemask and head covering, and tan camouflage
backpack as the person shown in YouTube Video 1. That person can be heard saying in YouTube
Video 2 (at the 4:10 mark), “[inaudible] started chucking shit at the other cops; so we can’t really
say we were peaceful.” The images below from YouTube Video 2 show the face of the person
wearing that distinctive clothing and those distinctive accessories. The person indicated by the red
box in the images from YouTube Video 1 above appears to be the same person as the one indicated
in the red box in each of the two images from YouTube Video 2 below:
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       I have reviewed booking photos from Riley Douglas Kasper’s arrests in 2015 and 2019 in
Wisconsin, and compared those photos to the person in the images above (from YouTube Video
1 and YouTube Video 2, recorded at the Capitol on January 6, 2021). The person in Kasper’s
booking photos appears to be the same person indicated by the red boxes in the images above from
YouTube Video 1 and YouTube Video 2. Below is a side-by-side comparison of the first image
from YouTube Video 2 above and Kasper’s 2015 and 2019 booking photos:
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      I also compared the three images above with Kasper’s state-issued driver’s license photo.
The person in the three images above (from YouTube Video 2 and Kasper’s 2015 and 2019
booking photos) appears to be the person in Kasper’s driver’s license photo.

        During an interview, CS-1. positively identified Riley D. Kasper as the person shown in
the following screenshot taken from YouTube Video 2. CS-1 knew Kasper from high school and
was in the same grade as Kasper. CS-1 stated they were friends on Facebook and that on January
7, 2021, Kasper posted images and videos on Facebook of the January 6, 2021, Trump Rally in
Washington, D.C., including a self-captured video in which he was wearing clothing consistent
with the clothing shown in the screenshot below, which CS-1 identified as an image of Kasper.




        On March 8, 2022, a family member of Kasper who has known Kasper all of Kasper’s life
identified him as the person shown in images recorded at the Capitol on January 6, 2021, and
provided the following picture of Kasper, in which he appears to be wearing the same hooded
jacket that he was wearing in the images shown above (from YouTube Video 1 and YouTube
Video 2):
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       In addition, Kasper’s financial transaction records obtained during the investigation
showed fuel purchases on a route from Wisconsin to and from the Washington, D.C., area between
January 5, 2021, and January 7, 2021.

       MPD-officer body-worn camera (“BWC”) video footage recorded on January 6, 2021,
shows an aerosol spray coming from the crowd at a high angle at 1:50 p.m. EST, from a person
wearing clothing consistent with Kasper’s, at nearly the exact opposite vantage point of YouTube
Video 1. The BWC footage and YouTube Video 1 appear to show the same people in the crowd
making the same movements. Thus, it appears the BWC footage and YouTube Video 1 recorded
the same location at the same time.

       Images from the BWC footage recorded at 1:50 p.m. EST are shown below:
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         The following image, recorded one second before the spray shown above, shows a person
wearing clothing and a head/face covering consistent with Kasper’s, who is holding a canister of
what appears to be pepper spray in his right hand. The canister appears to be black with a white
label, like the canister Kasper is shown to be spraying in the images from YouTube Video 1 above.
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       On November 2, 2021, Facebook user “Riley D. Kasper” was tagged in a photo on
Facebook by I.H. I compared that photo to Kasper’s driver’s license photo, and the person in both
photos appears to be the same.

        On November 12, 2021, Magistrate Judge Robin Meriweather of the U.S. District Court
for the District of Columbia issued a search warrant for Facebook account “riley.d.kasper.” The
content received pursuant to that search warrant provides the basis for the following statements
regarding Kasper’s activity on Facebook.

       According to the records received from Facebook, the “verified” phone number for the
account riley.d.kasper was a number ending in -8100. “Verified” indicates the account holder
responded to a text sent to the listed phone number. According to records from AT&T, that number
was subscribed to Kasper during the time relevant to this investigation.

        On January 2, 2021, a post on Kasper’s Facebook page included a photo of Donald Trump
with a header of “TAKE AMERICA BACK” and a footer of “BE THERE WASHINGTON D.C.
JANUARY 6, 2021 WILL BE WILD”:




        On January 5, 2021, a post on Kasper’s Facebook page included a photo of a highway from
the driver’s perspective with the caption, “On the road to Washington D.C.!”
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        On January 6, 2021, a post on Kasper’s Facebook page included eleven photos from the
driver’s perspective of various locations with location data resolving along the route from
Wisconsin to Washington, D.C. The comment associated with the photos was, “The trip was long,
but the road finally lead [sic] to Washington!” Samples of the photos are below:
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       On January 7, 2021, sixteen photos and three videos were posted to Kasper’s Facebook
page with the caption, “Trump rally Washington, D.C.!” The location data for those files was
consistent with Washington, D.C. Some of the photos are below:
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       On January 6, 2021, Kasper sent private messages via Facebook to N.L. One message
included a video of rioters pushing and breaking down a fence at the Capitol bearing an “AREA
CLOSED” sign (a screenshot of the video is below).
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        When N.L. replied, “That’s nuts you were right there when they pushed that fence back
lol,” Kasper responded, “Fuck yeah bro! I didnMt [sic] drive 14 hours for nothing.”

       Kasper then sent a series of messages including the following:

          a. “I pepper sprayed 3 cops so bad they got undressed and went home, gently
             brazed many others several times. I basically organized my own little militia and
             we fucking took over Congress” (emphasis added)

          b. “I mean the rest of the crowd gave support, but as you see in that video it was my
             group that busted the first gate and kept chasing the cops down and pushing
             them back into the capital” (emphasis added)

          c. “We got inside the capital then they started shooting rubber bullets at peoples heads,
             even when me and another guy were carrying a barely conciliatory dude with blood
             dripping off his knees from his head to the ambulance they kept shooting at the
             back of the 3 of us.”

       On or about January 7, 2021, Kasper sent the same video referenced above and the same
messages set forth in the preceding paragraph, via Facebook to S.B. In addition, on January 7,
2021, Kasper sent the following private messages to S.B. as part of the same message thread:

          a. “I woke up at 3am on Tuesday packed up and shit, drove 18 hours and got to the
             train station at 5am yesterday and went straight to dressing and on the trump train.
             Then fought cops all day got pepper sprayed more times than I can count, maced,
             hit with batons, and fucking shot and then kept going until now my only sleep in
             all of that 48 hours of craziness was I parked at a truck stop from 2am to 4am just
             now.” (emphasis added)

          b. “A lot of the people who were there are planning to go back on the 20th for Biden’s
             inauguration or hopefully lack there of [sic]. You better not bitch out this time, I’m
             giving you a bunch of time to plan and prepare lol. If you’re worried about the
             pepper spray and tear gas don’t be, mostly works on Biden bitches lol. Tear gas is
             basically just a tiny bit worse than campfire smoke, actually campfire smoke hurts
             your eyes worse, but you get a tingling in your lungs when you get a breath of it.
             Pepper spray is a bit worse, when you get hit it’s fucking instant and for atleast
             [sic] 2 seconds you cannot open your eyes probably not even with your fingers
             lol then it’ll start being a bit better but your eyes will burn. If you keep water with
             you just splash it in your eyes and blink and it’s just a little irritated but it’s pretty
             much back to normal, definitely at that point you’re ready to grab your pepper
             spray and charge those fuckers” (emphasis added)

          c. “Dude cops are pussies, they absolutely do not want to get pepper sprayed!
             You charge that line and start spraying they start running for cover like you’re
             coming at them with an ak and then cause they pussy out I would blindly ram my
             body into The temporary fence they had there cause you know they fucking sprayed
             me on my charge but totally worth the 5-10 seconds of pain to have everyone charge
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               and move the fence back like 5-10 feet when the cops are running” (emphasis
               added)

           d. “That’s how we took the capital”

           e. “Rubber bullets though, yeah those are different and should not even be legal.
              Rubber bullets is a misrepresentation. They’re technically called less-than-lethal
              ammunition which only means it was not designed to kill, not that it won’t kill you
              or fuck you up. . . . My advice, if they use rubber bullets I’d skip right to the real
              ones to shoot back”

           f. “Idk you just gotta come next time. It’s pretty exciting. It’s like the most real
              version of paintball ever. But with pepper spray, flash bangs, and tear gas
              grenades to throw back at those bitches. And a huge team of people who all got
              your back. And will beat the cops off of you if they ever get ahold of you” (emphasis
              added)

           g. “You have a paintball gun right? If so it will be dope, tomorrow I’m going to start
              making pepper balls (paintballs that explode capsicum dust on impact) they’re
              intense. Pepper spray has 10% capsicum but the powder is pure. You’d own those
              bitches with that shit. Pepper spray itself is wicked to where if you test your can
              by spraying it on the ground just the fumes from the tiniest squirt by your feet
              makes it feel like you got sprayed in the face. It’s crazy” (emphasis added)

           h. “I don’t know what it is, can’t quite put my finger on It. But there is definitely
              something satisfying about pepper spraying cops in riot gear and watching
              them run from you like a bitch even though they have face masks, billy clubs and
              full fucking body armor” (emphasis added)

         During the same string of messages, the conversation then turned to a discussion of
paintball guns. Specifically, Kasper and S.B. discussed the fact that S.B. had a paintball gun that
resembles an “ar” and has “full auto.” Kasper then wrote, “It would be dope to unleash the fully
auto he’ll [sic] on the cops but idk I think if you’re gonna point something at a cop that looks like
an ar it should probably just be an ar[.]” Then he wrote, “I’m down if you wanna bring yours and
I bring mine and together we’ll take the fucking capital alone lol[.]”

       Kasper then sent the following messages to S.B., in the same thread:

           a. “You didn’t see the craziness and how packed it is, if after we’re beating cops with
              fence panels and fulling [sic] their helmets and radios off of them and yanking them
              from their line into the crowd and just shoving him around between people so much
              he can’t fucking stand up at that point any of the cops standing point with machine
              guns up top would potentially start shooting if they saw a black barrel with no
              orange tip sticking out of the crowd.”
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  b. “Your gun isn’t an exact replica but it looks real enough to a cop who’s getting the
     shit beat of [sic] of them and has been pepper sprayed so much their eyes are blurry
     and watering”

  c. “For about $80 we can get the shit to make almost 200 of these pepperball bitches.
     With the best active ingredient offered on the market. Literally has a 15yard radius
     of impact and is guaranteed to incapacitate anyone to the pound [sic] of gagging
     and choking and can’t move for a few minutes if you actually hit them in the chest
     so it all puffs right in their face. But otherwise they’re damn near like fucking tear
     gas canisters that you can shoot out of your paintball gun lol”

  d. “Bro I’ve been going non stop for almost 60 hours. Rioting is not easy work man,
     climbing trees, scaffolding, buildings, pulling people up ledges so we can all charge
     the next fence together.” (emphasis added)

  e. “Fuck it while we’re at it let’s really do something crazy. They sell hard nylon
     paintballs with lead core. They’re called jawbreakers”

  f. “Lob a couple of those at those fucks and see wtf they think about rubber bullets”

  g. “We’re gonna be the hero’s of the battle bro. We’re gonna bring our paintball guns
     with fucking pepper balls, a can of bear spray each, a baton, taser and my
     extension ladder lol. Those cops will shit themselves when hundreds of us set up a
     latter and hold the bitch so they can’t kick it down and start climbing up the roof
     with them and start pepper spraying and pepper balling them” (emphasis added)

  h. “I’m on a war path with those capital police now. Before anything crazy happened
     I sat there at the fence talking to their dear gang and I told him we didn’t want a
     fight and didn’t want to hurt any of you. Just please go home, it’s not worth it, we
     came to be heard and we’re not leaving. And he straight just pulled out his pepper
     spray and fucked me right in the face and they all grabbed the fence and smashed
     it into me and the crowd around me. I tried to mace him back but I couldn’t open
     my eyes so idk if I got him but I sure fucking tried lol. That video I sent you was
     right after that, literally I took a step back, poured water on my eyes while I was
     screaming fuck em then! If they want a fight then let’s take the fucking house!
     Charge! Chucked my bottle at the cops and pressed record lol” (emphasis added)

  i. “He laughed at me like I was stupid for thinking we could hurt then when I said we
     don’t want to hurt you, just please go home. Legit 30 seconds later he was that guy
     that got knocked over under the fence and fucking trampled by the crowd”

  j. “As the day went on there were cops that started taking our advice and leaving,
     idk if they quit cause they wanted to make it home alive or if their commander let
     them. But yeah, one dude got pulled into the crowd and slammed on the ground
     on his back and his club, pepper spray, cuffs, radio everything got ripped from
     his belt, somehow I took out my baton and got right down in his face and
     screamed just go home then stood up offered him a hand to get up and give
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               him his radio back cause I had that lol and he turned around and walked away
               and as far as I know left” (emphasis added)

           k. “I’m pretty sure dude thought he was gonna die that day lol” (emphasis added)

        Based on the foregoing, your Affiant submits that there is probable cause to believe that
KASPER violated 18 U.S.C. §§ 111(a)(1) and 111(b), which make it a crime to assault, resist,
oppose, impede, intimidate, or interfere with a federal law enforcement officer, as designated in
Section 1114 of Title 18, while engaged in or on account of the performance of official duties, and
in the commission of any such acts, to use a deadly or dangerous weapon or inflict bodily injury.
Section 1114 specifically lists United States Capitol Police (USCP) officers as federal law
enforcement officers. This definition under Section 1114 is further extended to any person
assisting such a federal officer or employee in the performance of his or her duties or on account
of that assistance. USCP officers are Federal law enforcement officers, and MPD officers were
assisting them in protecting the Capitol and the Members of Congress on January 6, 2021.

        Your Affiant submits there is also probable cause to believe that KASPER violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his or her official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your Affiant further submits that there is probable cause to believe that KASPER violated
18 U.S.C. §§ 1752(a)(1), (2), and (4), and (b)(1)(A), which make it a crime to (a)(1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (a)(2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (a)(4) knowingly engage in any act
of physical violence against any person or property in any restricted building or grounds; or attempt
or conspire to do so; and (b)(1)(A) during and in relation to such offenses, use or carry a deadly or
dangerous weapon. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
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       Finally, your Affiant submits there also is probable cause to believe that KASPER violated
40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of
physical violence in the Grounds or any of the Capitol buildings.


                                                    _________________________________
                                                    Justin Mosiman
                                                    Special Agent
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of March, 2022.


                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
